                                   In The
                              Court of Appeals
                     Seventh District of Texas at Amarillo

                                     No. 07-24-00110-CR
                                     No. 07-24-00111-CR
                                     No. 07-24-00112-CR
                                     No. 07-24-00113-CR
                                     No. 07-24-00114-CR

                          LARRY GLEN ROLEN II, APPELLANT

                                                V.

                           THE STATE OF TEXAS, APPELLEE

                          On Appeal from the 108th District Court
                                   Potter County, Texas
  Trial Court Nos. 081970-E-CR, 081971-E-CR, 081972-E-CR, 081973-E-CR, &amp; 082335-E-CR;
                        Honorable Douglas R. Woodburn, Presiding

                                      August 21, 2024
                    ORDER OF ABATEMENT AND REMAND
                  Before QUINN, C.J., and DOSS and YARBROUGH, JJ.

      Appellant, Larry Glen Rolen II, appeals from five convictions for intoxicated

manslaughter with a motor vehicle.1            Appellant was sentenced to fifteen years of

confinement for each conviction, with two of the sentences to run concurrently and the


      1 See TEX. PENAL CODE ANN. § 49.08(b).
three remaining sentences to run consecutively. The reporter’s record was originally due

July 19, 2024, but we granted the reporter an extension to August 19 to file the record.

The reporter has since requested a second extension of thirty days due to her extensive

caseload and the considerable size of the record.

       To expedite the disposition of the appeals and in the interest of conservation of

judicial resources, we deny the request for extension, abate the appeals, and remand the

causes to the trial court for further proceedings. See TEX. R. APP. P. 35.3(c) (“The trial

and appellate courts are jointly responsible for ensuring that the appellate record is timely

filed.”); 37.3(a)(2) (requiring appellate courts to “make whatever order is appropriate to

avoid further delay and to preserve the parties’ rights” when the appellate record is not

timely filed). On remand, the trial court shall determine the following:

       (1)    what tasks remain to complete the filing of the reporter’s record;

       (2)    what amount of time is reasonably necessary for the completion of
       those tasks; and

       (4)     whether the reporter can complete the tasks within the time the trial
       court finds reasonable.

       Should the trial court determine that the reporter will require more than sixty days

to complete, certify, and file the reporter’s record, it shall arrange for a substitute reporter

to do so. The trial court is directed to enter such orders necessary to address the

aforementioned questions. So too shall it include its findings on those matters in a

supplemental clerk’s record and cause that record to be filed with this Court by October

21, 2024.




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       Should the reporter file the record on or before the date the trial court acts per our

directive, she shall immediately notify the trial court of the filing, in writing, whereupon the

trial court shall not be required to take any further action.

       It is so ordered.

                                                           Per Curiam

Do not publish.




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